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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

HODELL-NATCO INDUSTRIES, INC.
7825 Hub Parkway
Cleveland, Ohio 44125

CIVIL ACTION NO. 1:08 CV 2755

Plaintiff, JUDGE LESLEY WELLS
MAGISTRATE JUDGE GREG WHITE

VS.

SAP AMERICA, INC. FIRST AMENDED COMPLAINT
3999 W. Chester Pike
Newtown Square, Pennsylvania 19073

JURY TRIAL DEMANDED
and
SAP AG

Dietmar-Hopp-Allee 16
69190 Walldorf, Germany

and

LSI-LOWERY SYSTEMS, INC.

c/o Timothy K. Kellett, Registered Agent
911 Washington Avenue

Suite 400

St. Louis, Missouri 63101

and

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THE IBIS GROUP, INC. )
c/o John T. Grebe, Registered Agent )
1749 Naperville Road )
Suite 203 )
Wheaton, UWinois 60187 )
)
)

Defendants.
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Hodell-Natco Industries, Inc., by its attorneys, alleges as follows:
NATURE OF THE ACTION

1. This action is brought by the Plaintiff to seek redress for injuries sustained
by it from the sale to Plaintiff of a SAP Business One software product that was wholly
unsuited to Plaintiff's needs, was incapable of meeting the needs of a business the size of
Plaintiff, which malfunctioned, which failed to function as represented, which had to be
totally replaced, and which, Defendants knew or should have known, was unsuitable for
the business needs of Plaintiff. As a direct consequence of the acts and omissions set
forth herein, Plaintiff has sustained business interruption, lost productivity, lost sales, lost
profits, out-of-pocket expenses, and other direct, consequential, and special damages in
an amount to be proved at trial, but conservatively estimated to be in excess of $1.5
million.

PARTIES, JURISDICTION, AND VENUE

2. Hodell-Natco Industries, Inc. (“Hodell-Natco” or “Plaintiff") is a
corporation organized under the laws of the State of Ohio with its principal place of
business in Valley View, Ohio.

3. SAP AG is a corporation organized under the laws of the Republic of
Germany with its principal place of business in Walldorf, Germany. SAP AG is one of
the world's largest business software companies — with more than 51,800 employces at
sales and development locations worldwide. With subsidiaries in more than 50 countries,
the company is listed on several exchanges, including the Frankfurt stock exchange and

NYSE under the symbol “SAP.”
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4, SAP America Inc. is a wholly-owned subsidiary of SAP AG. SAP
America Inc. is a corporation organized under the laws of the State of Delaware with its
principal place of business in Newtown Square, Pennsylvania. At all times material
hereto, SAP AG and SAP America, Inc. were commonly controlled and acted in concert
with one another. SAP AG and SAP America Inc. are collectively referred to herein as
“SAP.”

5. LSi-Lowery Systems, Inc. is a corporation organized under the laws of the
State of Missouri with its principal place of business in St. Louis, Missouri.

6. The IBIS Group, Inc. is a wholly-owned subsidiary of LSi-Lowery
Systems, Inc. The IBIS Group, Inc. is a corporation organized under the laws of the State
of Illinois with its principal place of business in Chicago, Illinois. At all times material
hereto, LSi-Lowery Systems, Inc. and The IBIS Group, Inc. were commonly controlled
and acted in concert with one another. LSi-Lowery Systems, Inc. and The IBIS Group,
Inc. are collectively referred to herein as “LSi.”

7. Complete diversity exists as no defendant is a citizen of the same state as
Plaintiff. The amount in controversy, without interest and costs, exceeds the sum or
value specified by 28 U.S.C. § 1332.

8. Venue is proper in this district pursuant to 28 U.S.C. § 1391(a), because a
substantial part of the events or omissions giving rise to the claims occurred in this
judicial district.

FACTS COMMON TO ALL CLAIMS

9. Hodell-Natco is a full-service fastener and chain product wholesale

distributor headquartered in Valley View, Ohio, with warehouses or sales offices in
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Houston, Texas, Maryland Heights, Missouri, Sparks, Nevada, Blythewood, South
Carolina, Wauwatosa, Wisconsin, Longwood, Florida, and Westfield, Massachusetts.

10. Hodell-Nateco has made numerous acquisitions, including: Bi-State
Stainless Fasteners, North Ohio Bolt and Nut, Service Bolt and Nut Co., Metal Fasteners
& Bolt Co. (including the Lok-Tooth division), Southwest Fasteners (Houston), Acton
Stainless, and LMP Fastek (Milwaukee). Most recently, the company acquired the assets
of Bonanza Nut & Bolt (Reno) and Western Chain Company (Chicago). In December
2004, when Hodell-Natco purchased SAP Business One, it employed approximately 161
employees at least 80 of which were expected to be immediate users of SAP Business
One.

11. Hodell-Natco sells 160,000 to 170,000 different products generally
classified as fasteners, chains, chain assemblies, and other products. Because of the vast
number of its products and multiple locations, having software that provides real time
access to customer information, parts numbers, inventory and locations of inventory is
essential to Hodell-Natco’s business.

12. In or about March 2002, SAP AG purchased TopManage Financial
Systems, an Israeli developer of business applications and branded its system as “SAP
Business One.” Subsequently, through acquisitions and otherwise, additional features
and capability were added to SAP Business One. At all times material hereto, SAP AG
and SAP America Inc. acted jointly and in concert with one another to market and sell
SAP Business One.

13, During all material times, SAP Business One was marketed by SAP AG

and SAP America Inc. through “a network of highly qualified channel partners” that
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resell, build, implement or provide services for SAP products and solutions. In a
publication entitled “SAP Solution Brief Qualified SAP All-in-One Partner Solutions”
(07/02), SAP AG described the relationship as follows:

With qualified SAP All-in-One partner solutions, you can have

affordable industry-specific solutions that are created and
delivered by SAP partners and qualified by SAP. (dd. at page 1.)

SAP and its partners have extensive experience working with
small and mid-size enterprises. Nearly half of all SAP customer
installations are in companies with annual revenues of less than
US$200 million. (/d. at page 2.)

Qualified SAP All-in-One partner solutions are built and
supported by a comprehensive network of SAP partners, all of
which have extensive expertise in specific industries. SAP will
help you identify the best partner for your needs, or you can
choose one yourself, and you'll work with the partner to
implement the software quickly and cost-effectively, and with
minimal disruption to your business. (d.)
Thus, SAP’s “partners” are agents of SAP, having assented to act on behalf of, and
subject to the control, of SAP.
14. LSi-Lowery Systems, Inc. and/or The IBIS Group, Inc. were members of
SAP’s “partner” program and were authorized agents and resellers of SAP Business One.
15. During all material times, LSi-Lowery. Systems, Inc. and/or The IBIS
Group, Inc. were duly authorized agents of SAP for the express purpose of making
representations concerning the suitability and functionality of SAP Business One.

16. In 2003, Hodell-Natco commenced a search for a software solution which

would provide integrated financial and sales management capabilities for its growing
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business. It was essential to Hodell-Natco that whatever software it purchased would
accommodate its then existing number of users (approximately 80) as well as
accommodate the growth Hodell-Natco expected over the useful life of the software.
Given the strategic investment in time and money, and the importance to the functioning
of its business, it was also important to Hodell-Natco that it deal with a major software
vendor with a high level of expertise, and a proven product supported with and by expert
channel partners.
17. Hodell-Natco expressly communicated its user capacity and other needs to
all potential vendors, including the named Defendants herein.
18. In 2003, Hodell-Natco was provided by SAP and/or a SAP “partner” with
a copy of the SAP Business One Brief “SAP Business One” describing SAP Business
One as “robust and fully integrated” software for businesses “with 10 to several hundred
employees.” It further represented: “Thousands of businesses in 15 countries are already
using SAP Business One to help them manage and sustain their growth.” A
contemporaneous marketing piece, “SAP Solution Brief” for SAP Business One, stated,
in material part:
SAP Business One provides robust and fully integrated financial
and sales management capabilities, and it gives managers on-
demand access to critical, real-time information for better
decision making. Whether you have 5 employees or 500, the

solution helps emerging businesses streamline their operational
and managerial processes. (/d. at page 1.)

SAP Business One is easy to use for everyone in the organization
— from the CEO to junior-level employees. (/d. at page 2.)
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... SAP Business One is a revolutionary software solution from
the largest software vendor in the world: SAP. (/d.)

Because SAP Business One is delivered through a network of
highly qualified channel partners and supported by SAP’s global
resources, you receive first-class service and support. (/d. at page
3.)

Hundreds of businesses around the world are already using SAP
Business One to help them manage and propel their growth.
When you choose SAP Business One, you select SAP — a vendor
with more than 30 years of experience and 12 million users
worldwide. And because SAP Business One is built on open
standards, you can easily integrate it with other systems, including
the solutions of mySAP Business Suite. (/d.)

Copies of this marketing literature are attached hereto as Exhibit “A.”

19. On October 1, 2003, Otto Reidl, President of Hodell-Natco, received an e-
mail from Heather Devereuax from biz2bizmarketing.com containing attachments
regarding SAP Business One — The American Express Edition. In “Amex Edition OPT”
dated June 2003, American Express described its product as “Finally, a seamlessly
integrated business solution designed exclusively for small and midsize wholesales
distributors: SAP Business One — The American Express Edition.” It further stated:

Specifically designed to address one of the biggest problems
faced by small to midsize distributors, this solution seamlessly
integrates wireless warehouse management, electronic data

interchange (EDI), document management, sales tax and credit
card authorization. (d. at page 1.)

SAP Business One delivers access to real-time information. (/d.)
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In the marketing literature entitled “New Solutions for Small and Midsize Businesses,”
SAP and American Express stated:
American Express has teamed up with SAP, a world-leader in
providing business software solutions to the Fortune 500. ...[W]e
have designed SAP Business One to meet the specific needs of
SMBs in the United States. (/d. at page 1.)

Together, we deliver world-class solutions and services through
an impressive local network. (/d.)

Our solution is easy to support. (7d. at page 2.)
The SAP Business One solution effectively supports companies
with as few as ten and as many as several hundred employees.

(Id.)

Worldwide, there are over 1,300 installations of SAP Business
One. Now it’s America’s turn! (d.)

Copies of Ms. Devereuax’ e-mail and the attachments are attached hereto as Exhibit “B.”

20. At all times relevant to this action, American Express Tax and Business
Services, Inc. acted as the authorized agent and representative of its disclosed principals,
the SAP Defendants. As described hereafter, American Express’s role was eventually
transitioned to the defendants LSi-Lowery and IBIS.

21. On October 16, 2003, Penelope A. Vitantonio of American Express Tax
and Business Services, Inc. sent Otto Reidl an e-mail that had attached “a technical
whitepaper and a collateral piece” regarding SAP Business One — The American Express
Edition. A copy of the “SAP Business One Whitepaper” which accompanied Ms.
Vitantonio’s message is attached hereto as Exhibit “C.” In it SAP AG represented, in
part:

SAP — 30 Years in the Business of Helping Businesses Grow

12 Million Users. 61,100 Installations. 1,500 Partners. 23
Industry Solutions. (Page 1.)
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Headquartered in Walldorf, Germany, SAP is the world’s largest
inter-enterprise software company, and the world’s third-largest

independent software supplier overall. ... Our professionals are
dedicated to providing high-level customer support and services.
(Id.)

For small and midsize companies eager to emerge as new leaders
in their industry, taking that next step in e-business evolution is a
critical decision. Their new business management software must
be quick to implement, easy to use, and make the best use of their
current IT infrastructure. While it must be sufficiently powerful
to manage their business through its future growth, it has to be
affordable enough to represent a reasonable investment today. (§
1.1, p. 4.)

The software has been successfully installed in 800 businesses
globally, with the maximum implementation time being four
weeks. (Emphasis added.)(§ 1.4, p. 5.)

SAP Business One, the powerful solutions platform for small and
medium-size businesses, gives you fast and easy access to all
corporate information, complete reports, and useful documents for
all business processes — and everything in real time. (§ 2, p. 6.)

To secure critical business and system processes, a robust MS-
SQL 2000 database is used. It supports an unlimited number of
simultaneous user transactions. In addition, its scalability
provides for expansion of business activities while simultaneously
securing and controlling all business processes. (§ 4, p. 18.)

22. On October 20, 2003 at 1:00 p.m., Hodell-Natco participated in an Online

Webinar and Demonstration presented jointly by SAP, American Express, and IBM.
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During the course of the Webinar, the suitability of SAP Business One for small and
midsize wholesale distributors was specifically represented to the attendants, including
Otto Reidl. The Webinar was conducted by, or was conducted under the supervision of
the SAP Defendants, and the representations made therein were authorized by, and made
on behalf of, the SAP Defendants.

23. On November 3, 2003, in a telephone conversation with Otto Reid],
Penelope A. Vitantonio told Otto Reid] that “IBIS will be partnering with American
Express” and suggested the postponement of a then scheduled meeting between Hodell-
Natco and American Express.

24. In late 2003, The IBIS Group, Inc. represented to Hodell-Natco that it was
an expert in providing IT solutions to the fastener industry and that “SAP has chosen to
partner with The IBIS Group to develop the specific requirements of this vertical market
space and bring to market a turn key solution (sic) to this industry.” Those specific
requirements included, but were not limited to, enhanced accounts receivable
functionality, enhanced accounts payable functionality, enhanced inventory control
functionality, enhanced sales orders functionality, and enhanced purchase orders
functionality. Development of that vertical market space also included the integration of
other software with SAP Business One, including the In-Flight Enterprise application and
Radio Beacon synchronization.

25. On December 3, 2003, Penelope A. Vitantonio and Michael J. Neuendorff
of American Express Tax and Business Services, Inc. met with Otto Reidl as part of the
ongoing effort to sell SAP Business One to Hodell-Natco. At that (or perhaps another

contemporaneous meeting), Otto Reidl was given the documents comprising Exhibit “A,”

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repeating the express representation that SAP Business One was suitable for mid-size
businesses with as many as 500 employees.

26, On December 19, 2003 at 3:30 p.m., Otto Reidl received a telephone call
from Penelope A. Vitantonio and Eric Worth. Otto Reidl’s notes of this conversation
evidence that the “scalability” of SAP Business One was expressly discussed leaving
Otto Reid! with the assurance that SAP Business One had sufficient capability to serve a
business the size of Hodell-Natco.

27. During 2004, communications between Hodell-Natco and The IBIS
Group, Inc., and its owner, Dale Van Leeuwen, continued. After the announcement of
the acquisition of IBIS by Lowery Systems, Inc. in June 2004, Daniel Lowery of LSi-
Lowery Systems, Inc. joined in the efforts to sell SAP Business One to Hodell-Natco. As
a consequence of the acquisition, Dale Van Leeuwen became Chief Operating Officer of
LSi-Lowery Systems, Inc. Meetings and/or telephone conversations occurred on
February 2, 2004 (conference call among Hodell-Natco, IBIS and American Express);
February 6, 2004 (Otto Reidl and Penelope A. Vitantonio); September 10, 2004 (Otto
Reidl, Daniel Lowery and Dale Van Leeuwen); October 13, 2004 (conference call
Hodell-Natco and LSi-Lowery Systems, Inc.); October 14, 2004 (Otto Reidl, Kevin
Reidl, Daniel Lowery and Dale Van Leeuwen); November 3, 2004 (Otto Reidl, Daniel
Lowery, John Woodrum and Dale Van Leeuwen); November 8, 2004 04 (Otto Reid],
Daniel Lowery and Dale Van Leeuwen); and November 23, 2004 (conference cal]
Hodell-Natco and LSi-Lowery Systems, Inc.). Not once during any of these
conversations, or during any other oral communication, or in any written communication,

was Otto Reidi or anyone else at Hodell-Natco told that SAP Business One was

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unsuitable for mid-size businesses and could support only a limited number of users. Not
once was Otto Reidl or anyone else at Hodell-Natco told that SAP Business One could
not be installed at Hodell-Natco in a reasonably functioning form. Not once was Otto
Reid! or anyone else at Hodell-Natco told that there existed only mediocre or poor
support for SAP Business One. Not once was Otto Reid! or anyone else at Hodell-Natco
told that the installation of SAP Business One would take multiple months, and then be
incomplete.

28. During the course of the communications set forth herein, and in the
written materials provided to Hodell-Natco:

a. SAP Business One was jointly marketed to Hodell-Natco by all of the
Defendants as an affordable and easy to implement solution designed from
the ground up to address the needs of smail and midsize businesses
(“SMBs”).

b. SAP Business One was jointly represented by the Defendants to Hodell-
Natco as providing robust and fully integrated financial and sales
management capabilities.

c. SAP Business One was jointly represented by the Defendants to Hodell-
Natco as providing managers on-demand access to critical real time
information.

d. SAP Business One was jointly represented by the Defendants to Hodell-
Natco as the one solution designed for key decision makers that helped
them do it all - make more profitable decisions, grow their businesses, and

stay ahead of their competition.

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e. SAP Business One was jointly represented by the Defendants to Hodell-
Natco as being an affordable, powerful business solution that allowed
everyone in the organization to get the information they need — in real
time.

f. SAP Business One was jointly represented by the Defendants to Hodell-
Natco as providing it with the ability to manage practically all of its core
operations, including the following features and benefits:

i. Salesforce automation, pipeline tracking, opportunity management,
strategic selling, and contact management;

ii, Full financial management system, budgeting, and bank
reconciliation;

iii. Inventory management, warehouse management, and multilevel
price lists;

iv. Management reporting, online alerts, sales discount management,
exception management, and workflow approvals;

vy. Auser interface designed for nontechnical executives;
vi. Unparalleled ease of use;

vii. Increased employee productivity and enhanced communication
with suppliers; and

viii. “Unmatched expertise.”
29. On December 17, 2004, Daniel Lowery of LSi-Lowery Systems, Inc. sent
an e-mail to Otto Reidl stating, “Attached is the final agreement containing the wording
we discussed, namely; that at the 150 day review point, Hodel (sic) can ask for a refund

of their $60,000 if IBIS is substantially behind schedule.” (Emphasis added.)

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30. On December 20, 2004, Hodell-Natco executed the Development
Agreement with LSi, a copy of which is attached hereto as Exhibit “D” (the
‘Development Agreement”),

31. On December 20, 2004, Hodell-Natco issued its purchase order for an 80
user software license for SAP Business One at a cost for the licenses alone of
$300,000.00. On December 21, 2004, Hodell-Natco issued check number 354550 in the
amount of $60,000 as its initial payment toward the purchase of the 80 user licenses.
Copies of the purchase order and check are attached hereto as Exhibit “E” (the “Purchase
Order”).

32. On December 20, 2004, LSi-Lowery Systems, Inc. issued an invoice to
Hodell-Natco for 80 user software licenses for SAP Business One. A copy of the invoice
is attached hereto as Exhibit “F.”

33. The documents referenced in paragraphs 29-32 constitute the entire
contract and agreement for the purchase of 80 user software licenses for SAP Business
One by Hodell-Natco. The SAP Defendants were third party beneficiaries of the contract
and agreement described in paragraphs 29-32 of this Amended Complaint.

34. Essential to Hodell-Natco’s decision to purchase SAP Business One was
the express representation by the Defendants that SAP Business One would support the
many users employed by Hodell-Natco. It was understood between Hodell-Natco and the
Defendants that Hodell-Natco would be purchasing up to an additional 220 licenses for
SAP Business One beyond the 80 initially purchased. Hodell-Natco anticipated a need

for a total of 300 licenses during a ten-year period of use.

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35,  Hodell-Natco would not have purchased the initial 80 licenses without the
Defendants’ intentionally misleading, reckless, and/or negligent assurances that Hodell-
Natco would be able to expand the number of licenses beyond the initial 80 and up to 300
total.

36. The Defendants expressly represented to the international business
community that SAP Business One could be used by hundreds of users. In its 2003
Annual Report, for example, SAP stated:

SAP Business One is an easy-to-use business automation
software solution that enables emerging businesses to streamline
their operational and managerial processes and gain better control
of their businesses. It supports standard business processes such as
financial management, warehouse management, purchasing,
inventory management,, payment, and sales force automation. ...
SAP Business One targets organizations with ... five to 500
employees....” (Emphasis added.)

37. The Defendants expressly represented to Hodell-Natco that SAP Business
One could be used by as many as 250 users and that SAP Business One was suitable to
Hodell-Natco’s current and at least ten years of future growth needs.

38. The Defendants expressly represented to Hodell-Natco that SAP Business
One was a proven “robust and fully integrated” product that had been successfully
installed in 800 businesses and that none of the installations took more than four (4)
weeks.

39, The Defendants expressly represented to Hodell-Natco that if it purchased
SAP Business One, then Hodell-Natco would receive “high-level” customer support and

services and that such services would be tailored to the specific needs of Hodell-Natco’s

particular industry.

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40, Hodell-Natco justifiably relied upon the material representations of SAP
and LSi as set forth in this Complaint.

41. The representations made by the Defendants as set forth in this Complaint
were made falsely -- either with knowledge of their falsity or utter disregard and
recklessness as to falsity -- with an intent to mislead customers for SAP Business One,
including Hodell-Natco,

42. The annual reports and marketing literature publicly disseminated by SAP
AG and SAP America Inc. reveal that over time, SAP AG and SAP America Inc. have
steadily narrowed their statements about the number of employees and/or users that can
be supported by SAP Business One. This is illustrated by the following chart:

10/2003 < 500 Employees — SAP Brochure

Vv

2003 Ann. Report * * 5-—500 Employees

10/2004 4 » «250 Employees - SAP news release (Ellen
O’Brien, SAP.com)
12/2004 ¢q-—___|.____» Hodell-Natco contract for 80 user licenses

2005 Ann. Report  <—}——-» 10-~several hundred employees

11/2005 <——__+——> 10-100 users ~ Article about new SAP-_news
release
12/2005 ‘ » Purchase by Hodell-Natco of 40 “CRM” liccnses

11/2006 <«—|—___» <250 Employees - SAP Executive Summary

2006 Annual Report «——|_-» < 100 Employees

2007 Ann. Report «———'_—-» _ < 100 employees with < 30 users

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43. That SAP Business One was totally unsuitable for a company the size of
Hodell-Natco is acknowledged by what SAP AG publicly stated in its 2007 Annual
Report about its SAP Business One software product:

SAP Business One is the right solution for small
businesses, typically with fewer than 100 employees and 30 users
that are looking for an affordable, single system to cover the core
operations necessary to run and grow a success business, including
financials, sales, customers, and operations. (Emphasis added.)

44, With sales of less than $50 million, Hodell-Natco was far below the $200
million used by SAP to define the upper limit of “mid-sized” businesses.

45, By the time 80 user software licenses for SAP Business One were sold to
Hodell-Natco in December 2004, SAP AG and SAP America Inc. knew, or were reckless
in not knowing, that SAP Business One could not reasonably support more than 30 users.

46. In or about December 2005, Hodell-Natco purchased “40 CRM” user
licenses from The IBIS Group, Inc. In connection with this purchase, Hodell-Natco was
presented with the Maintenance Schedule and SAP Business One Software License
Agreement attached hereto as Exhibit “G.” Hodell-Natco signed these documents but
never received back a counterpart signed by SAP America Inc.

47. By the time 40 CRM user software licenses for SAP Business One were
sold to Hodell-Natco in December 2005, SAP AG and SAP America Inc. knew, or were
reckless in not knowing, that SAP Business One could not reasonably support more than
.30 users.

48. Following its purchase of 80 user licenses for SAP Business One in

December 2004, Hodell-Natco worked diligently to implement the software with the

assistance of the Defendants. Notwithstanding the best efforts of Hodell-Natco, the

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installation of SAP Business One was an abject failure. Hodell-Natco continued its
efforts to make SAP Business One minimally functional until 2008 when it reached the
conclusion that SAP Business One had failed and that it needed to be replaced.
49. | The many problems encountered by Hodell-Natco with SAP Business One
and the integrated software include, but are not limited to:
a. The system responded so slowly that Hodell-Natco’s sales
foree was unable to reasonably respond to customer
inquiries by telephone;
b, InFlight disconnect errors;

C. There were data synchronization failures between SAP
Business One and Radio Beacon;

d. There were ongoing discrepancies between package on-
hand and warehouse on-hand figures;

e. Faxes were sent to incorrect customers by SAP Business
One;
f. Not all documents to be faxed by SAP Business One were

actually faxed, some instead were printed locally;

g. SAP Business One e-mailing failed without any apparent
pattern;

h. Could not reset to zero usage;

i. SAP Business One screen froze when looking up past sales

to customers;

j. SAP Business One form settings sporadically changed from
one day to the next following no apparent pattern;

k. Repeated “Internal error 2038” messages;
L. IP misapplied costs;
m. Item interchanges were not functional;

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n. Order entry failures with no apparent pattern;

oO. Transfer lines remained open or closed at random on
receipt of partial shipment data;

p. Country of origin did not uniformly carry through system;
and

q. Drill downs only functioned occasionally without an
apparent pattern to the repeated failures.

50. On April 25, 2007 Dan Lowery of LSi-Lowery Systems, Inc. wrote an e-
mail to Kevin Reidl of Hodeil-Natco following upon a communication had on April 24,
2007 with Dirk Boessmann of SAP AG. During the course of that message, Mr. Lowery
stated, “Number of users for SAP B1? Yes, at the early stages we all started with
Bi, the number most often quoted for users was 250+. On the call you correctly
heard Hodell was pushing the upper limit with 120.” (Emphasis added.) A copy of
Mr. Lowery’s April 25, 2007 e-mail is attached hereto as Exhibit “H.”

51. On September 6, 2007, Otto Reidl received a telephone call from Dale
Van Leeuwen who admitted that initially SAP Business One had been represented to
Hodell-Natco as being capable of supporting up to 300 users, but that by May of 2006,
SAP had reduced the number to 50.

52. The statements of Messrs. Lowery and Van Leeuwen as set forth in the
previous two paragraphs constitute admissions against interest and clearly establish that
Hodell-Natco was materially misled as to the adequacy of SAP Business One for its

business needs.

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53.  Hodell-Natco incurred damages as direct costs in the implementation of
SAP Business One and the integrated software in an amount to be proved at trial, but at
least $843,152.62.

54.  Hodell-Natco incurred damages as indirect costs in the implementation of
SAP Business One and the integrated software in an amount to be proved at trial, but at
least $456,000,

FIRST CAUSE OF ACTION-FRAUDULENT INDUCEMENT

55. _Hodell-Natco ineoREeatEs the previous paragraphs of this Complaint as if
fully rewritten herein.

56. Defendants made material misrepresentations of fact in their sales
literature, public and private communications in 2003 and 2004, and directly to Hodell-
Natco. Those misrepresentations are set forth in detai}] herein and include, but are not
limited to, the misrepresentation that SAP Business One was suitable for companies with
hundreds of employees, that SAP Business One was suitable for 250 users, that SAP
Business One had been successfully installed in hundreds of similar companies, and that
SAP could provide industry-specific high level support.

57. The misrepresentations by the Defendants were of material facts.

58. Hodell-Natco reasonably relied on the misrepresentations of the
Defendants in (i) the purchase of 80 user licenses for SAP Business One; (ii) the
purchase of unlimited user licenses for the IBIS In-Flight Enterprise software; (iii) the
purchase of the programs to integrate the In-Flight Enterprise application with SAP

Business One; and (iv) the purchase of 40 “CRM” user licenses.

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59, | The misrepresentations by the Defendants were made with knowledge of
their falsity or utter disregard and recklessness as to falsity -- with an intent to induce and
mislead Hodell-Natco into making the purchases as aforesaid. Hodell-Natco would not
have entered into the contracts attached as Exhibits “D” and “E” but for its justifiable
reliance on the fraudulent misrepresentations of the Defendants.

60. The material misrepresentations discussed herein were made not only in
order to induce Hodell-Natco to purchase the initial 80 user licenses, but further, with the
intent to induce Hodell-Natco to forgo other potential business partnerships in favor of
the previously described business partnership with LSi-Lowery and the SAP Defendants.

61. In December 2005, the SAP Defendants made additional representations
regarding Hodell-Natco’s “limited one-time opportunity” to purchase additional user
licenses to expand its number of users beyond the initial 80 licenses. These
representations were made knowingly, or with reckless disregard for their truth, and the
SAP Defendants knew or should have known that the initial 80 licenses would fail to
perform based upon information solely in their possession, and the additional licenses
would likewise fail to perform.

62. The misrepresentations described Paragraph 61 above not only furthered
the Defendants’ ongoing fraudulent scheme, but were also specifically designed to induce
Hodell-Natco to sign a License Agreement containing certain disclaimers and other
limitations.

63. Hodell-Natco would not have signed the 2005 License Agreement had the
Defendants corrected their previous misrepresentations surrounding the Development

Agreement, and would not have signed the License Agreement had the SAP Defendants

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not made additional misrepresentations in December 2005, knowing that SAP Business
One would fail for Hodell-Natco’s intended purpose.

64. At the time the Defendants made their representations regarding the
Development Agreement and License Agreement, the Defendants knew that they had no
intention and/or no ability to perform their contractual obligations.

65.  Hodell-Natco has sustained damages from the Defendants’ fraudulent
inducement as alleged herein.

SECOND CAUSE OF ACTION-FRAUD

66.  Hodell-Natco incorporates the previous paragraphs of this Complaint as if
fully rewritten herein.

67. Defendants made material misrepresentations of fact in their sales
literature, public and private communications in 2003 and 2004, and directly to Hodell-
Natco. Those misrepresentations are set forth in detail herein and include, but are not
limited to, the misrepresentation that SAP Business One was suitable for companies with
hundreds of employees and that SAP Business One was suitable for 250 users.

68. The SAP Defendants further represented that installation of SAP Business
One could be readily undertaken and that Hodell-Natco would receive high-level and
industry-specific support, when in fact the support was poor at best.

69, The SAP Defendants represented in 2003 that SAP Business One was
being used by thousands of businesses in 15 countries when in fact the number of
installations was far smaller.

70. The misrepresentations by the Defendants were of material facts.

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71.  Hodell-Natco reasonably relied on the misrepresentations of the
Defendants.

72. The misrepresentations by the Defendants were made with knowledge of
their falsity or utter disregard and recklessness as to falsity -- with an intent to mislead
Hodell-Natco.

73.  Hodell-Natco has sustained damages from the Defendants fraud as alleged
herein.

THIRD CAUSE OF ACTION-BREACH OF CONTRACT

74.  Hodell-Natco incorporates the previous paragraphs of this Complaint as if
fully rewritten herein.

75. The Development Agreement, together with Hodell-Natco’s Purchase
Order constitutes a valid and binding agreement between Hodell-Natco and LSi for (i)
the purchase of SAP Business One and 80 user licenses for SAP Business One; (ii) the
purchase of unlimited user licenses for the IBIS In-Flight Enterprise software; and (ili)
the purchase of the programs to integrate the In-Flight Enterprise application with SAP
Business One.

76. The software sold to Hodell-Natco are “goods” and/or “specially
manufactured goods” under. the Uniform Commercial Code.

77. SAP was a disclosed principal for whose benefit LSi contracted with
Hodell-Natco. For this and other reasons, SAP is liable for any breaches which may be
established against LSi.

78. As the principal for its disclosed agent LSi, and because the SAP

Defendants were specifically intended to benefit directly from the Development

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Agreement, the SAP Defendants are third-party beneficiaries of the Development
Agreement and are liable for any breaches thereof.

79. | Hodell-Natco fully performed all of its duties under the Development
Agreement and any and all other agreements which may be deemed binding upon
Hodell-Natco.

80. Implied in the Development Agreement are an implied warranty of
merchantability and an implied warranty of fitness for a particular purpose.

81.  LSi materially breached its contract with Hodell-Natco and the implied
warranties of merchantability and fitness for a particular purpose.

82. The software sold to Hodell-Natco was not fit for the ordinary purposes
for which software of that description is used.

83. The software sold to Hodell-Natco was not fit for the particular purposes
for which that software was to be employed by Hodell-Natco, which purposes were
known to LSi and SAP, LSi and SAP knew that Hodell-Natco was relying on their skill
in the selection and recommendation of suitable software.

84. In the event that Hodell-Natco should be deemed to be bound by the terms
of the SAP Business One Software License Agreement for the December 2005 purchase
of 40 “CRM” user licenses, then Plaintiff alleges that the warranty set forth in paragraph
7.1 was breached as the software did not substantially conform to the functional
specifications contained in the “documentation.”

85. LSI and SAP otherwise materially breached their contracts with Hodell-

Natco.

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86. Hodell-Natco has sustained damages from the Defendants breach of
contract as alleged herein.

FOURTH CAUSE OF ACTION-NEGLIGENCE

87. Hodell-Natco incorporates the previous paragraphs of this Complaint as if
fully rewritten herein.

88. _LSi and SAP had a duty of ordinary care to Hodell-Natco.

89. By failing to cause the SAP Business One software to achieve basic and
essential functionality for Hodell-Natco, Defendants breached their duty of care.

90. _ Hodeil-Natco has sustained damages from the Defendants’ negligence as
alleged herein.

FIFTH CAUSE OF ACTION-NEGLIGENT MISREPRESENTATION

91. | Hodell-Natco incorporates the previous paragraphs of this Complaint as if
fully rewritten herein.

92. In the course of their business, the defendants supplied false information
to Hodell-Natco with respect to the capabilities of SAP Business One which information
was supplied to Hodell-Natco for the guidance of Hodeli-Natco in its purchase of
business software.

93. Defendants failed to exercise reasonable care or competence in
communicating such information to Hodell-Natco.

94. Hodell-Natco justifiably relied upon the information relating to SAP
Business One supplied to Hodell-Natco by the defendants.

95.  Hodell-Natco has sustained damages from the Defendants’ misstatements

and omissions as set forth herein.

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WHEREFORE, Hodell-Natco prays for judgment as follows:

a. As to the First Cause of Action, damages in an amount to be proved at
trial, but at least $1.5 million, interest thereon, punitive damages, and attorneys’ fees;

b. As to the Second Cause of Action, damages in an amount to be proved at
trial, but at least $1.5 million, interest thereon, punitive damages, and attorneys’ fees;

C. As to the Third Cause of Action, damages in an amount to be proved at
trial, but at least $1.5 million, interest thereon, and attorneys’ fees;

d, As to the Fourth Cause of Action, damages in an amount to be proved at
trial, but at least $1.5 million, interest thereon, and attorneys’ fees;

e. As to the Fifth Cause of Action, damages in an amount to be proved at
trial, but at least $1.5 million, interest thereon, and attorneys’ fees;

f. As to all causes of action, costs and reasonable experts’ fees;

g. Any other relief which this Court deems just and equitable.

Respectfully submitted,

/s/ James F. Koehler

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JURY DEMAND
Plaintiff hereby demands trial of this matter with the maximum number of jurors

allowed by law.

/s/ James F. Koehler
James F. Koehler (0007904)
Attorney for Hodell-Natco Industries, Inc.

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CERTIFICATE OF SERVICE
I hereby certify that on April 23, 2009, I electronically filed the foregoing First

Amended Complaint, Jury Trial Demanded, using the CM/ECF system.

/s/ James F, Koehler
James F. Koehler (0007904)

#99433v2

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